Case 2:20-cv-01901-JWH-KES Document 70 Filed 12/17/21 Page 1 of 2 Page ID #:264




                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
                                 CIVIL MINUTES—
                                     GENERAL

  Case No.      CV 20-01901-JWH (KESx)                         Date December 17, 2021
  Title Orlando Garcia v. Kazam M. Baker, et al.



  Present: The Honorable         JOHN W. HOLCOMB, UNITED STATES DISTRICT JUDGE


                Irene Vazquez                                   Not Reported
                 Deputy Clerk                                  Court Reporter


      Attorney(s) Present for Plaintiff(s):          Attorney(s) Present for Defendant(s):
                 None Present                                   None Present

  Proceedings: (IN CHAMBERS) ORDER TO SHOW CAUSE AS TO
               WHY SANCTIONS SHOULD NOT BE IMPOSED FOR
               COUNSEL’S FAILURE TO PARTICIPATE IN PRETRIAL
               FILINGS AND FOR FAILURE TO APPEAR AT
               DECEMBER 17, 2021, FINAL PRETRIAL CONFERENCE
               & ORDER TO SHOW CAUSE AS TO WHY JUDGMENT
               SHOULD NOT BE ENTERED AGAINST THE
               INDIVIDUAL DEFENDANT FRENCH PASTRY CAFE
               DE JOUR, INC.


        On April 30, 2021, the Court issued its Civil Trial Scheduling Order (the
 “Scheduling Order”) [ECF No. 58] setting the case schedule dates and deadlines
 that included the Final Pretrial Conference, which was set for December 17, 2021,
 at 11:00 a.m. In addition, the Scheduling Order provided this Court’s filing
 schedule for pretrial documents. In view of the filing schedule, the parties’ pretrial
 documents were due by November 26, 2021. On November 23, 2021, Plaintiff’s
 counsel filed a Declaration Regarding Unilateral Filing of Pretrial Documents [ECF
 No. 62], advising the Court of Plaintiff’s counsel’s attempts to contact
 Defendant’s counsel in preparation of the upcoming trial.

  Page 1 of 2                        CIVIL MINUTES—GENERAL            Initials of Deputy Clerk iv
Case 2:20-cv-01901-JWH-KES Document 70 Filed 12/17/21 Page 2 of 2 Page ID #:265




        On December 9, 2021, the Court issued a Scheduling Notice and Order (the
 “Order”) [ECF No. 67] that continued the Final Pretrial Conference from
 December 17, 2021, at 11:00 a.m., to December 17, 2021, at 1:00 p.m. The Order
 also directed the parties to appear in person at specified date and time.

       On December 17, 2021, Andrew K. Rauch, counsel for Defendant French
 Pastry Café De Jour, Inc., did not appear in court. Accordingly, the Court
 ORDERS Mr. Rauch to show cause why he should not be sanctioned in the
 amount of $500 for failure to participate in the pretrial filings and for failure to
 appear at the Court-ordered Final Pretrial Conference. Furthermore, the Court
 ORDERS Defendant French Pastry Cafe De Jour, Inc. to show cause why
 Judgment should not be entered against it.

       Mr. Rauch and Defendant French Pastry Cafe De Jour, Inc. are each
 DIRECTED to respond in writing at or before 12:00 noon on Friday, January 7,
 2022. Their failure to respond, or an unsatisfactory response, may result in the
 imposition of sanctions against counsel and the entry of judgment against
 Defendant French Pastry Cafe De Jour, Inc. The Court also SETS a video Order
 to Show Cause hearing on January 14, 2022, at 1:00 p.m.

         IT IS SO ORDERED.




  Page 2 of 2                  CIVIL MINUTES—GENERAL                Initials of Deputy Clerk iv
